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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

                                       |
IN RE: JOHNSON & JOHNSON               |             Civil A. No. 3:16-md-2738
TALCUM POWDER PRODUCTS                 |             (FLW) (LHG)
MARKETING, SALES PRACTICES, AND |
PRODUCTS LIABILITY LITIGATION          |             MDL No. 2738 (FLW) (LHG)
                                       |
______________________________________ |
This document relates to:              |
Tamera Lee, Individually               |
                                       |
Case No. 3:18-cv-11263                 |
______________________________________ |


                      NOTICE OF SUBSTITUTION OF ATTORNEY

       PLEASE TAKE NOTICE that Plaintiff TAMERA LEE substitutes Noah M. Wexler of

Arnold & Itkin LLP, State Bar No. 24060816, in place of Jessica Meeder of Murphy Falcon &

Murphy, PA, One South Street, 23rd Floor, Baltimore, Maryland 21202.

       Contact information for new counsel is as follows:

                                            Noah M. Wexler
                                           Arnold & Itkin LLP
                                           6009 Memorial Dr.
                                         Houston, Texas 77007
                               Tel: (713) 222-3800 / Fax: (713) 222-7707
                                       nwexler@arnolditkin.com
                                       e-service@arnolditkin.com


       A request is hereby made that all notices given or required to be given in this case and all

pleadings and other papers filed in this matter be served upon counsel. Additionally, counsel

respectfully requests that all orders, pleadings and correspondence be served upon Noah M.

Wexler through the CM/ECF system.
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Dated: November 18, 2020                            Respectfully submitted,

                                                    ARNOLD & ITKIN LLP

                                                    /s/ Noah M. Wexler
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                                                    ATTORNEY FOR PLAINTIFF



                              CERTIFICATION OF SERVICE


        I hereby certify that on November 18, 2020, a copy of the foregoing document(s) was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. Parties may access the filing
through the Court’s system.


                                                    /s/ Noah M. Wexler
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